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 5

6

 7                                            United States District Court
                                              For the District of Columbia
8                                                 Honorable Carl J. Nichols

9    United States,                                            No. 1:24-cr-00148-CJN

10                               Plaintiff,                    Notice of Support Letters and
                                                               Sentencing Recommendation of a
11                  v.                                         Period of Probation

12   John Delbridge, Jr., and Johnny Delbridge
     III,
13
                                 Defendants.
14

15                 DEFENDANTS’ SENTENCING RECOMMENDATION

16         John Delbridge Jr., and Johnny Delbridge III, respectfully submits these
17   several letters of support, see Exhibits A – D, and requests a sentence of a probation.
18
     For the reasons stated below, Mr. Delbridge, Jr. and Mr. Delbridge III, request that
19
     this Court sentence both to a term of six months’ probation and credit for time

     served.
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 1          I.     Background of John and Johnny Delbridge

2           John Delbridge have lived the majority of his life as a law-abiding citizen and

 3   Johnny has never been in trouble. They are father and son who work together at a

4    construction company owned by John. Both have loving and supportive families, are

 5   extremely hard workers, have wide community support, and operate a business upon
6    which their communities and families rely.
 7
            On January 6, 2021, both father and son traveled to Washington, D.C., from
8
     Coeur d’ Alene, Idaho to participate in a rally that was being held at the Ellipse. See
9
     ECF No. 35 and 36, Statements of Offense. Both were arrested for their
10
     participation in the mass protest in the District of Idaho in December 2023. 1 They
11
     were released on a personal recognizance bond that day and have since remained on
12
     pre-trial supervision with zero issues. On June 4, 2024, both Delbridges pled guilty
13
     to two misdemeanors via a plea agreement. 2
14
            The Delbridges present no risk to the community. As outlined in their
15
     respective PSIRs, they have no drug concerns, and drink alcohol only “once in a
16
     while.” 3 Further, Mr. Delbridge, Jr., has over thirty years of a clean criminal
17

18
     1 ECF Nos. 5 & 6 (Executed Arrest Warrants)

19   2 ECF Nos. 32 & 34 (Plea Agreements)

     3 See PSIRs
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 1   background, following some minor youthful indiscretion. Mr. Delbridge, III, has no

2    criminal history.

 3          The United States is requesting a term of incarceration of 30 days for Mr.

4    Delbridge, Jr., and 15 days of incarceration for Mr. Delbridge, III with 36 months

 5   probation to follow. Probation is requesting a sentence of 24 months of probation
6    for both Delbridges.
 7
            Although the Delbridges agree with U.S. Probation that a sentence of
8
     probation is appropriate, they respectfully request that a term of six months’
9
     probation be imposed, due to their perfect conduct while on pre-trial supervision,
10
     gainful employment, and strong family ties. 4 Further, due to the Delbridges lack of
11
     danger to the community, and their familial traditions of hunting, they request that
12
     they be allowed to possess firearms for that purpose for their respected terms of
13
     probation. The Delbridges also request that there be no imposition of drug testing
14
     due to no risk of substance abuse as outlined in their PSIRs. See §3563(a)(5).
15
            II.     A six month term of probation satisfies the relevant 18 USC § 3553
16
     factors.
17
            The Court shall only impose a sentence that is not greater than necessary to
18
     satisfy the relevant statutory goals as outlined in §3553. The factors that the Court
19

     4 See Exhibits A-D (Letters of Support).
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 1   must consider in imposition of a sentence involve promotion of respect for the law,

2    providing just punishment for the offense, affording adequate deterrence, protecting

 3   the public from further crimes of the defendant, and providing the defendant with

4    needed educational/vocational training, medical care or other correctional

 5   treatment.
6           A six-month term of probation promotes respect for the law and provides just
 7
     punishment for the offense. The Delbridges were in the Capitol for approximately
8
     three minutes. During that time, there is no evidence that they were destructive,
9
     overly boisterous, or leaders of the crowd. Simply put, they joined a large group of
10
     people in a chaotic situation and left a very short time later. Since then, there have
11
     been no issues. The Delbridges are widely respected in the community as honest
12
     and hardworking people.
13
            Their characters shine through in numerous letters of support. Mr.
14
     Delbridge, Jr., is seen taking positive life steps without prompting from any Court or
15
     society. In just a few paragraphs, each letter shows a deep character of care, respect,
16
     and community commitment. He is reported to have sought out a life coach to
17
     become a better mentor and leader to his sons, 5 financially helped out one of his
18

19

     5 Exhibit D (Mr. Laughlin Letter of Support).
             Case 1:24-cr-00148-CJN Document 50 Filed 09/03/24 Page 5 of 8




 1   subcontractors who had fallen ill to Covid-19,6 and even offered an office space to

2    his clients who were newcomers in the area so that they could work remotely. 7

 3   These unprompted acts of kindness are great indicators of a man who does not need

4    formal Court supervision to further help himself.

 5          Further, every letter of support details men with family values. It is clear that
6    Mr. Delbridge, III, is also a man of growth and well-respected in the community of a
 7
     man of great integrity. Although he is only a young man, it appears that he shares
8
     the values of commitment to the community and hard work. He has a family of his
9
     own, including a two-year old daughter. The Delbridges are tight-knit, but Mr.
10
     Delbridge, Jr., also runs a construction business with the help of his sons. This
11
     means that any term of incarceration would negatively impact them, their families,
12
     and the families of their employees and subcontractors. It would also negatively
13
     impact their clients, especially in this busy time of construction in North Idaho.
14
            On January 6, 2021, the Delbridges entered the Capitol for three minutes.
15
     During their short time inside, they did not cause any damage. The Delbridges left
16
     without incident and traveled back to Idaho to resume their normal, law-abiding
17
     lives. Neither has since committed a crime, and both have been compliant with their
18

19   6 Exhibit A (Mr. Hasso Letter of Support)

     7 Exhibit A (Mr. and Mrs. Phelan Letter of Support)
            Case 1:24-cr-00148-CJN Document 50 Filed 09/03/24 Page 6 of 8




 1   pre-trial supervision since December 2023. As such, a six month period of probation

2    is sufficient deterrence and just punishment, but is not greater than necessary to

 3   achieve the relevant §3553 goals.

4          III.   Probation is not recommending a sentence of incarceration.

 5         It is important to note that the United States Probation does not recommend a
6    sentence of incarceration due to the relevant §3553 factors for either Delbridge. The
 7
     well drafted PSIR outlines that the Delbridges are employed, productive members of
8
     society, with no risk to the community. The Delbridges have no objections to the
9
     conditions of probation, except for the proposed firearm restrictions and drug
10
     testing.
11
           IV.    The Delbridges request that they be allowed to possess firearms.
12
           It is unnecessary for a firearm restriction to be put into place. 18 USC §
13
     3563(b) outlines discretionary conditions that the Court may impose. §3563(b)(8)
14
     allows the Court to impose a restriction on possession of firearms, if reasonably
15
     necessary for the purpose of the goals outlined in §3553.
16
           The Delbridges have no criminal allegations of misconduct with firearms, and
17
     there are no allegations of possession of firearms during the instant offense. They
18
     do not pose a danger to the community. Further, their rural lifestyle lends itself to
19
     the necessity of possession of firearms.
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 1          The Delbridges are from rural North Idaho, where many people legally hunt

2    as a source of both enjoyment and a way to economically feed their families.

 3      The Delbridges would like to continue to be able to participate in this tradition

4    during their time of probation. As there are no concerns about danger to the

 5   community, and no evidence of misuse of firearms, the Delbridges request that the
6    Court not impose that restriction.
 7
           V.     Conclusion
8
           The Delbridges are respected family men who committed a lapse in judgment
9
     by entering the Capitol for three minutes on January 6, 2021. Their term of pre-trial
10
     supervision and a six-month term of incarceration has been significant deterrence for
11
     these two law abiding individuals. Their community, business associates, and family
12
     all rely on their freedom, and the relevant §3553 factors support a sentence of
13
     probation. Further, United States Probation is not recommending incarceration. As
14
     such, John Delbridge, Jr., and Mr. Delbridge, III, respectfully request that this Court
15
     impose a six-month term of probation.
16

17

18

19
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 1   Dated: September 3, 2024.

2                                           Federal Defenders of E. Washington & Idaho
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 3                                          Delbridge, III
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 7

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13
                                         Service Certificate
14         I certify that on September 3, 2024, I electronically filed the foregoing with
15
     the Clerk of the Court using the CM/ECF System, which will notify Assistant
16
     United States Attorneys: Adam Dreher and Eric Boylan.
17
                                            s/Nick Vieth
18                                          Nick Vieth, WSBA No. 34196
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                                             Motion
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